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VERMONT SUPREME COURT                                                                    Case No.       21-AP-217
109 State Street
Montpelier VT 05609-0801
802-828-4774                                                                           USDC - DVT
www.vermontjudiciary.org                                                               5:21-mc-127




                                                ENTRY ORDER

                                     SEPTEMBER TERM, 2021

In re Denise Bailey, Esq. (Office of Disciplinary        }    Original Jurisdiction
Counsel*)
                                                         }    Professional Responsibility Board
                                                         }    CASE NO.PRB File No. 2022-031

                                  In the above-entitled cause, the Clerk will enter:

        Respondent Denise Bailey is a lawyer licensed to practice law in the State of Vermont. Disciplinary Counsel
and respondent jointly filed with the Court a petition for interim suspension due to a medical condition that
currently prevents respondent from meeting the needs of her clients. Having reviewed the petition and the
accompanying affidavit, the Court concludes that respondent’s current medical condition prevents her from
practicing law and hereby orders that she be transferred to interim suspension status in accordance with
Administrative Order 9, Rule 22. Respondent shall comply with the notice requirements set forth in A.O. 9, Rule
27.
Case 5:21-mc-00127-gwc Document 1 Filed 09/23/21 Page 2 of 2
